          Case 1:18-cv-03560-GLR Document 102 Filed 12/17/21 Page 1 of 1


                                                                                APPROVED this 17th day of
                             UNITED STATES DISTRICT COURT                       December, 2021. This matter
                                DISTRICT OF MARYLAND                            is hereby DISMISSED
                                                                                without prejudice. The Clerk
    MAYOR AND CITY COUNCIL OF                                                   is directed to CLOSE this
    BALTIMORE, et al.,                                                          case.

                      Plaintiffs,                                               ________/s/________
                                                   Case No. 18-cv-3560-GLR
    v.                                                                          George L. Russell, III
                                                                                United States District Judge
    ACTELION PHARMACEUTICALS LTD., et
    al.,

                      Defendants.



                   STIPULATION OF VOLUNTARY DISMISSAL
            OF PLAINTIFF MAYOR AND CITY COUNCIL OF BALTIMORE

         IT IS HEREBY STIPULATED AND AGREED by and between the undersigned parties

and/or their respective counsel that Plaintiff Mayor and City Council of Baltimore (“Baltimore”),

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), voluntarily dismisses its claims against

all Defendants without prejudice. All parties to this stipulation to bear their own costs.

DATED: December 16, 2021                              Respectfully submitted,

            /s/ Damaris Hernández                         /s/ Sharon K. Robertson
            Damaris Hernandez                             Sharon K. Robertson
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